Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 1 of 33 PageID #: 72868




                                                                           17-MDL-2804

                                                                       PLAINTIFFS TRIAL
                                                                           EXHIBIT
                                                                      P-00115_00001
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 2 of 33 PageID #: 72869
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 3 of 33 PageID #: 72870
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 4 of 33 PageID #: 72871
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 5 of 33 PageID #: 72872
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 6 of 33 PageID #: 72873
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 7 of 33 PageID #: 72874
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 8 of 33 PageID #: 72875
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 9 of 33 PageID #: 72876
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 10 of 33 PageID #: 72877
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 11 of 33 PageID #: 72878
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 12 of 33 PageID #: 72879
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 13 of 33 PageID #: 72880
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 14 of 33 PageID #: 72881
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 15 of 33 PageID #: 72882
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 16 of 33 PageID #: 72883
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 17 of 33 PageID #: 72884
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 18 of 33 PageID #: 72885
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 19 of 33 PageID #: 72886
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 20 of 33 PageID #: 72887
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 21 of 33 PageID #: 72888
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 22 of 33 PageID #: 72889
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 23 of 33 PageID #: 72890
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 24 of 33 PageID #: 72891
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 25 of 33 PageID #: 72892
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 26 of 33 PageID #: 72893
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 27 of 33 PageID #: 72894
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 28 of 33 PageID #: 72895
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 29 of 33 PageID #: 72896
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 30 of 33 PageID #: 72897
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 31 of 33 PageID #: 72898
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 32 of 33 PageID #: 72899
Case 3:17-cv-01362 Document 1509-13 Filed 01/12/22 Page 33 of 33 PageID #: 72900
